     CASE 0:20-cv-00805-DWF-ECW Document 1 Filed 03/26/20 Page 1 of 23



                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MINNESOTA

 DEMIAN OKSENENDLER, individually                   CASE NO.:
 and on behalf of all others similarly
 situated,                                          CLASS ACTION COMPLAINT

                    Plaintiff,

    v.                                              JURY TRIAL DEMANDED

 NORTHSTAR EDUCATION FINANCE,
 INC. d/b/a TOTAL HIGHER
 EDUCATION,

                    Defendant.


         Plaintiff Demian Oksenendler, individually and on behalf of the other members of

the below-defined nationwide and statewide classes (collectively, the “Class”), hereby

alleges against Defendant Northstar Education Finance, Inc. d/b/a Total Higher Education

(“Northstar” or “Defendant”), upon personal knowledge as to himself and his own acts,

and as to all other matters upon information and belief, based upon investigation of counsel,

as follows:

                                 I.   NATURE OF THE ACTION

         1.    Northstar is a provider of student loans. Beginning in 2001, Northstar began

uniformly offering, as part of its loan arrangements, a credit to its borrowers—including

Plaintiff and the other Class members—effectively lowering the interest rate for borrowers

who were no more than 59 days late in making loan repayments. Northstar referred to this

credit as the “T.H.E. Repayment Bonus” (the “T.H.E. Program”).
     CASE 0:20-cv-00805-DWF-ECW Document 1 Filed 03/26/20 Page 2 of 23



       2.      Northstar offered, and Plaintiff and the other Class members accepted as part

of their loan agreements with Northstar, the T.H.E. Program (provided Plaintiff and the

other Class members made payments no later than 59 days past due) as a material and

binding term of their student loans with Northstar.

       3.      On February 18, 2008, Northstar committed its first unilateral breach of its

loan agreements with its borrowers by suspending the T.H.E. Program.                Northstar

attributed this suspension to “the ongoing disruption in the global markets”—a condition

or option neither contained in, disclosed, nor otherwise incorporated into Northstar’s

contracts with Plaintiff and the other Class members.

       4.      Class action litigation soon followed, which Northstar settled on a classwide

basis with its borrowers on December 14, 2009, by entering into a Settlement Agreement

that contractually obliged Northstar to honor the T.H.E. Program for the remaining life of

the loans.

       5.      Nevertheless, in or about February or March 2020, Northstar again

unilaterally suspended the T.H.E. Program, this time citing “changes in economic

conditions.”

       6.      Northstar’s renewed suspension of the T.H.E. Program is a breach of both its

loan contracts and its settlement agreement with Plaintiff and the other Class members, as

well as an unfair and/or deceptive trade practice.

       7.      Plaintiff was a Northstar borrower at the time of Northstar’s latest suspension

announcement and was damaged as a result of Northstar’s conduct—by losing the benefit




                                              2
     CASE 0:20-cv-00805-DWF-ECW Document 1 Filed 03/26/20 Page 3 of 23



of the T.H.E. Program and increasing the effective interest rate that he was paying on the

loans.

         8.    Plaintiff and the other Class members complied with the terms of their loan

agreements by paying their loans in a timely fashion, thus complying with the terms T.H.E.

Program and entitling them to the credit.

         9.    Plaintiff brings this action on his own behalf and on behalf of proposed

nationwide and California classes of all similarly-situated Northstar customers. Plaintiff,

individually and on behalf of the other Class members, seeks compensatory and

consequential damages, statutory relief, and to require Northstar to specifically perform its

contractual obligations under the terms of that program, as it promised and represented.

                           II.   JURISDICTION AND VENUE

         10.   This Court has diversity jurisdiction over this action under 28 U.S.C.

§§ 1332(a) and (d) because the amount in controversy for the Class exceeds $5,000,000

and Plaintiff and one or more of the other Class members are citizens of a different state

than Defendants.

         11.   This Court has personal jurisdiction over Northstar because it has its

principal place of business in the State of Minnesota and in this District.

         12.   Venue is proper in this district under 28 U.S.C. § 1391 because Northstar is

headquartered in this District, provides services to members of the Class located in this

District, conducts substantial business in this District, resides in this District, or otherwise

has sufficient contacts with this District to justify it being fairly brought into court in this

District.


                                               3
     CASE 0:20-cv-00805-DWF-ECW Document 1 Filed 03/26/20 Page 4 of 23



                                    III.   PARTIES

A.     Plaintiff

       13.    At all times relevant to this action, Plaintiff Demian Oksenendler has been a

resident of San Francisco, California.

       14.    In or around 2000-2001, upon receiving his undergraduate degree, Plaintiff

began researching student loans to finance his law school education. After extensively

researching the various student loan options and lenders, Plaintiff concluded that

Defendant Northstar stood out among all others for one benefit alone—it offered a “bonus”

program, wherein for every payment paid in full and on time, he, as the borrower, would

receive an additional payment or credit to his loan account, made by Northstar (the “T.H.E.

Program”).

       15.    Plaintiff relied on Northstar’s representation, and he would not have taken

out his loan with Northstar, or would have demanded a lower rate, but for this promise.

       16.    Furthermore, to confirm that he understood the T.H.E. Program and all of its

benefits before committing, Plaintiff contacted Northstar on at least one occasion and spoke

to a customer representative, who assured him that his understanding of the T.H.E. Program

was correct. At no time did Northstar disclose to Plaintiff told that it could revoke the

T.H.E. Program for any reason. Had he been so informed, he would have chosen a different

loan or demanded better terms from Northstar.

       17.    After graduation in 2004, Plaintiff consolidated his student loan debt with

Northstar. Again, he chose to consolidate his loans with Northstar solely because of the

promised benefits of the T.H.E. Program.


                                             4
     CASE 0:20-cv-00805-DWF-ECW Document 1 Filed 03/26/20 Page 5 of 23




       18.    In 2010, Plaintiff received notice of the settlement of the earlier class action

lawsuit against Northstar. The notice documents assured him and other Class members,

among other things, that the core settlement benefit would be the reinstatement of the bonus

as a guaranteed benefit. Plaintiff reasonably relied upon these representations that the

T.H.E. Program would be followed to his benefit when deciding to remain in the class.

       19.    In March 2020, he received notification that Northstar was once again

attempting to retract the T.H.E. Program, in breach of his loan agreement and the prior

Class Action Settlement Agreement.

B.     Defendant

       20.    Northstar Education Finance, Inc. is a Delaware corporation headquartered

and having its principal place of business at 930 Blue Gentian Road, Suite 100, Eagan,

Minnesota. Northstar originated the student loans with the T.H.E. Program that were

borrowed by Plaintiff and the other Class members.

                          IV.     FACTUAL BACKGROUND

A.     General Background

       21.    Upon graduating from college or graduate school programs, many students

choose to enter into loan agreements and/or consolidate their federal student loans with a

single lender for convenience and/or to lock in a fixed interest rate on their loans. The

interest rates of federal consolidation loans at origination are determined by the Higher

Education Act, 20 U.S.C. §§ 1070, et seq.




                                              5
     CASE 0:20-cv-00805-DWF-ECW Document 1 Filed 03/26/20 Page 6 of 23



       22.    A prospective student or graduate who is interested in initiating or

consolidating his or her student loans has hundreds of lenders in the nation to choose from.

Although the original interest rates on federal consolidation loans are set by statute, lenders

are free to, and often do, compete for graduates’ business by offering them the opportunity

to reduce the interest rates on such loans if certain conditions are met. Once a graduate

consolidates his/her federal loans with a single lender, they are ineligible to reconsolidate

that loan with another lender.

       23.    To give itself a competitive advantage in the marketplace of student loan

lenders, beginning in 2001, Northstar’s loan agreements contained a provision that a credit

would be given to borrowers who paid timely. Northstar called that credit the “T.H.E.

Repayment Bonus” (the “T.H.E. Program”).

       24.    Under the T.H.E. Program, Northstar uniformly promised to each of its

borrowers that this bonus would be paid as a monthly interest rebate credit to all borrowers

who were no more than 59 days behind on their loan repayments. Northstar represented

that its T.H.E. Program would effectively reduce the interest rate on borrowers’ student

loans by a set amount.

       25.    Northstar’s T.H.E. Program was and is a contractual term of each of

Northstar’s student loans.       The T.H.E. Program applied not only to the federal

consolidation loans originated by Northstar, but also all other types of federal student loans

and private student loans that Northstar originated to Plaintiff and the other Class members.




                                              6
     CASE 0:20-cv-00805-DWF-ECW Document 1 Filed 03/26/20 Page 7 of 23



      26.    Northstar provided Plaintiff and the other Class members with quarterly form

summaries of their federal and private loan accounts before the loans went into repayment.

Each of these summaries touted Northstar’s T.H.E. Program, and represented that

      The T.H.E. Repayment Bonus is currently being paid out as a monthly credit
      equal to an annualized interest rate reduction. It is paid to all T.H.E.
      borrowers in repayment and less than 60 days delinquent.

B.    Northstar’s First Suspension of the T.H.E. Program

      27.    On or about February 18, 2008, Northstar announced that the T.H.E. Program

was “suspended” and that it would no longer pay the T.H.E. Repayment Bonus. In a form

letter sent to Plaintiff and the other Class members, Northstar attempted to explain away

this breach of its contracts with Plaintiff and the other members of the Class by citing

“ongoing disruption in the global markets.” Northstar claimed that the T.H.E. Repayment

Bonus “is based on current financial market conditions and portfolio performance and is

therefore subject to change. See Exhibit A.

      28.    Northstar’s justification of its suspension of the T.H.E. Program was legally

invalid. Nowhere in any of the loan documents that Northstar provided to Plaintiff and the

other Class members did Northstar reserve a right to change, amend, revoke, withdraw,

terminate, discontinue, suspend, cease, modify, and/or alter the T.H.E. Repayment

Program in any way.

C.    The Class Settlement

      29.    Soon after Northstar’s first suspension of the T.H.E. Program, affected

borrowers filed several class actions against Northstar on behalf of themselves and a

nationwide class of similarly-situated borrowers. These class actions were transferred and


                                              7
     CASE 0:20-cv-00805-DWF-ECW Document 1 Filed 03/26/20 Page 8 of 23



coordinated before Judge Donovan Frank in the multidistrict litigation captioned In re

Northstar Education Finance, Inc. Contract Litigation, 08-MD-1990 (D. Minn.).

       30.     This litigation resolved with entry of a settlement agreement, pursuant to

which Northstar agreed to reinstitute the T.H.E. Repayment Program. (See Exhibit B (the

“Settlement”).) Specifically, the Settlement “mandates that the Bonus be paid over the life

of Settlement Class Members’ loans, except for in certain circumstances set forth below.”

(Id. at 16.)

       31.     The “certain circumstances” described in the Settlement have not been

triggered such that Northstar may legally suspend the T.H.E. Repayment Program.

       32.     The Settlement also provides:

       Given the ongoing nature of the relationship between Northstar and the
       Settlement Class, Class Counsel shall have the right to audit Northstar's
       compliance with the terms and conditions of this Settlement Agreement if
       they become aware of credible evidence of Northstar’s noncompliance. In
       the event that Class Counsel establishes Northstar has not complied with the
       terms and conditions of this Settlement Agreement, Class Counsel shall be
       entitled to reasonable attorneys’ fees and costs – to be paid by Northstar –
       for their work conducted in connection with requiring Northstar's
       compliance.

(Id. at 32-33.)   Two of the three court-appointed Class Counsel invested with this

responsibility, Adam J. Levitt and Robert K. Shelquist, are also counsel for Plaintiff and

the proposed Class here. (The third, Charles S. Zimmerman, has passed away.)

D.     Northstar’s Latest Suspension of the T.H.E. Program

       33.     In or about February or March 2020, Northstar again suspended the T.H.E.

Program. In yet another form letter sent to Plaintiff and the other Class members, Northstar

this time attempted to explain away this suspension by citing “changes in economic


                                               8
     CASE 0:20-cv-00805-DWF-ECW Document 1 Filed 03/26/20 Page 9 of 23



circumstance.” Nowhere in the letter does Northstar even mention its obligation under the

Settlement to pay the T.H.E. Repayment Bonus, let alone attempt to justify the suspension

as a contractual matter. Instead, Northstar falsely claims in the form letter that the T.H.E.

Program was merely a “gratuitous reduction.” (See Exhibit C.)

       34.    Northstar did not send any notice of this suspension to counsel for the

Settlement class to allow for their ongoing oversight over the T.H.E. Program that the

Settlement requires.

       35.    Northstar’s latest failure to honor its contractual obligation to maintain the

T.H.E. Program and to pay the T.H.E. Repayment Bonus is a breach of both its underlying

loan contracts and its Settlement with Plaintiff and each of the other Class members and is

an unfair and/or deceptive trade practice. Northstar’s conduct has caused, and continues

to cause, Plaintiff and the other Class members to suffer economic harm.

                        V.    CLASS ACTION ALLEGATIONS

       36.    Plaintiff brings this action pursuant to Rules 23(a), 23(b)(1), 23(b)(2), and

23(b)(3) of the Federal Rules of Civil Procedure on behalf of himself and all others

similarly situated.

       37.    Plaintiff seeks to represent a class (the “Nationwide Class”) defined as:

       All persons and entities in the United States who obtained or co-signed a
       student loan held by Northstar or a wholly-owned subsidiary of Northstar at
       the time of the Re-Suspension of the T.H.E. Program in or about February to
       March, 2020.

       38.    Plaintiff also seeks to represent a statewide class (the “California Class”)

defined as:



                                             9
    CASE 0:20-cv-00805-DWF-ECW Document 1 Filed 03/26/20 Page 10 of 23



       All persons and entities who obtained or co-signed a student loan held by
       Northstar or a wholly-owned subsidiary of Northstar in California at the time
       of the Re-Suspension of the T.H.E. Program in or about February to March,
       2020.

       39.    Excluded from all Classes are Defendant and any of its members, affiliates,

parents, subsidiaries, officers, directors, employees, successors, or assigns; and the Court

staff assigned to this case and their immediate family members. Plaintiff reserves the right

to modify or amend these Nationwide and California Class definitions, as appropriate,

during the course of this litigation.

       40.    This action has been brought and may properly be maintained on behalf of

the Nationwide and Statewide Classes proposed herein under the criteria of Rule 23 of the

Federal Rules of Civil Procedure.

       41.    Numerosity—Federal Rule of Civil Procedure 23(a)(1). The members of

the Nationwide and California Classes are so numerous and geographically dispersed that

individual joinder of all class members is impracticable. While Plaintiff is informed and

believes that there are thousands of members of the Nationwide and California Classes, the

precise number of Nationwide and California Class members is unknown to Plaintiff but

may be ascertained from Northstar’s books and records. Nationwide and California Class

Members may be notified of the pendency of this action by recognized, Court-approved

notice dissemination methods, which may include U.S. Mail, electronic mail, Internet

postings, and/or published notice.

       42.    Commonality and Predominance—Federal Rule of Civil Procedure

23(a)(2) and 23(b)(3). This action involves common questions of law and fact, which



                                            10
    CASE 0:20-cv-00805-DWF-ECW Document 1 Filed 03/26/20 Page 11 of 23



predominate over any questions affecting individual Nationwide and California Class

members, including, without limitation:

              a.     whether Northstar participated in, or committed the wrongful conduct

       alleged herein;

              b.     whether Northstar’s acts, transactions, or course of conduct constitute

       the violations of law alleged herein;

              c.     whether Plaintiff and the other Class members have sustained and/or

       continue to sustain damages by reason of Northstar’s conduct, and, if so, the proper

       measure and appropriate formula to be applied in determining such damages;

              d.     whether Plaintiff and the other Class members are entitled to

       compensatory and/or statutory damages; and

              e.     whether Plaintiff and the other Class members are entitled to

       declaratory, injunctive, or other equitable relief.

       43.    Typicality—Federal Rule of Civil Procedure 23(a)(3). Plaintiff’s claims

are typical of the other Nationwide and California Class members’ claims because they

each arise from the same course of conduct by Northstar and are based on the same legal

theories. Plaintiff and the other Nationwide and California Class members suffered

damages as a direct proximate result of the same wrongful practices in which Northstar

engaged. Accordingly, Plaintiff satisfies Rule 23(a)(3)’s “typicality” requirements with

respect to the Classes he seeks to represent.

       44.    Adequacy of Representation—Federal Rule of Civil Procedure 23(a)(4).

Plaintiff is an adequate Class representative because his interests do not conflict with the


                                                11
    CASE 0:20-cv-00805-DWF-ECW Document 1 Filed 03/26/20 Page 12 of 23



interests of the other Nationwide and California Class members who he seeks to represent,

Plaintiff has retained counsel competent and experienced in complex class action litigation,

and Plaintiff intends to prosecute this action vigorously. The Nationwide and California

Classes’ interests will be fairly and adequately protected by Plaintiff and his counsel.

       45.    Risk of Inconsistent Adjudications—Federal Rule of Civil Procedure

23(b)(1). Absent a representative class action, Class members would continue to suffer

the harm described herein, for which they would have no remedy. Even if separate actions

could be brought by individual borrowers, the resulting multiplicity of lawsuits would

cause undue hardship and expense for both the Court and the litigants, as well as create a

risk of inconsistent rulings and adjudications that might be dispositive of the interests of

similarly situated borrowers, substantially impeding their ability to protect their interests,

while establishing incompatible standards of conduct for Northstar. The proposed Class

thus satisfies the requirements of Fed. R. Civ. P. 23(b)(l).

       46.    Declaratory and Injunctive Relief—Federal Rule of Civil Procedure

23(b)(2). Northstar has acted or refused to act on grounds generally applicable to Plaintiff

and the other Nationwide and California Class members, thereby making appropriate final

injunctive relief and declaratory relief, as described below, with respect to the Nationwide

and California Class members as a whole.

       47.    Superiority—Federal Rule of Civil Procedure 23(b)(3). A class action is

superior to any other available means for the fair and efficient adjudication of this

controversy, and no unusual difficulties are likely to be encountered in the management of

this class action. The damages or other financial detriment suffered by Plaintiff and the


                                             12
     CASE 0:20-cv-00805-DWF-ECW Document 1 Filed 03/26/20 Page 13 of 23



other Nationwide and California Class members are relatively small compared to the

burden and expense that would be required to individually litigate their claims against

Northstar, so it would be impracticable for the Nationwide and California Class members

to individually seek redress for Navistar’s wrongful conduct. Even if the Nationwide and

California Class members could afford litigation, the court system could not.

Individualized litigation creates a potential for inconsistent or contradictory judgments and

increases the delay and expense to all parties and the court system. By contrast, the class

action device presents far fewer management difficulties, and provides the benefits of

single adjudication, economy of scale, and comprehensive supervision by a single court.

                             VI.    CLAIMS FOR RELIEF

A.     Claim Brought on Behalf of the Nationwide Class

                              COUNT 1
             BREACH OF CONTRACT (STUDENT LOAN AGREEMENT)

       48.    Plaintiff repeats and realleges Paragraphs 1-47, as if fully set forth herein.

       49.    Plaintiff brings this Count individually and on behalf of the other members

of the Nationwide Class (the “Class,” for purposes of this Count).

       50.    Plaintiff and the other Class members entered into and executed student loan

agreements with Northstar.

       51.    The relevant material terms of the student loan contracts with Plaintiff and

the other Class members included NorthStar's obligation to honor the T.H.E. Repayment

Bonus on all student loans for which repayments are no more than 59 days late.




                                             13
    CASE 0:20-cv-00805-DWF-ECW Document 1 Filed 03/26/20 Page 14 of 23



       52.    Plaintiff and the other Class members have fully performed all of their

obligations under their Northstar loan contracts.

       53.    In or about February or March, 2020, NorthStar breached its contractual

obligations to Plaintiff and the other Class members by suspending the T.H.E. Program

and has continued to breach its loan agreement by not honoring the credit to which Plaintiff

and the other Class members are contractually entitled.

       54.    Northstar’s conduct breaching its contractual obligations, and its failure to

continue to provide the T.H.E. Repayment Bonus to Plaintiff and the other Class members,

is unjustified and unexcused under the terms of its form contract(s) with Plaintiff and each

of the other Class members.

       55.    Plaintiff and each of the other Class members have been damaged by

Northstar’s suspension of the T.H.E. Program for each of their loans with Northstar, in an

amount to be determined at trial.

                              COUNT 2
             BREACH OF CONTRACT (SETTLEMENT AGREEMENT)

       56.    Plaintiff repeats and realleges Paragraphs 1-47, as if fully set forth herein.

       57.    Plaintiff brings this Count individually and on behalf of the other members

of the Prior Settlement Class (the “Class,” for purposes of this Count).

       58.    Plaintiff and the other Class members are also members of the Settlement

class in In re Northstar Education Finance, Inc. Contract Litigation, in which Northstar

entered into a Settlement.




                                             14
    CASE 0:20-cv-00805-DWF-ECW Document 1 Filed 03/26/20 Page 15 of 23



      59.    The relevant material terms of Northstar’s Settlement with Plaintiff and the

other Class members included NorthStar's obligation to honor the T.H.E. Repayment

Bonus on all student loans for which repayments are no more than 59 days late.

      60.    Plaintiff and the other Class members have fully performed all of their

obligations to maintain the T.H.E. Repayment Bonus under the Settlement.

      61.    In or about February or March, 2020, Northstar breached its contractual

obligations to Plaintiff and the other Class members by suspending the T.H.E. Program

and has continued to breach the Settlement by not honoring the credits to which Plaintiff

and the other Class members are entitled.

      62.    Northstar's conduct breaching its contractual obligations, and its failure to

continue to provide the T.H.E. Repayment Bonus, is unjustified and unexcused under the

terms of its Settlement with Plaintiff and each of the other Class members.

      63.    Plaintiff and each of the other Class members have been damaged by

Northstar’s suspension of the T.H.E. Program for each of their loans with Northstar, in an

amount to be determined at trial.

                                  COUNT 3
                     VIOLATION OF MINNESOTA UNIFORM
                      DECEPTIVE TRADE PRACTICES ACT
                           Minn. Stat. § 325D.43-.48

      64.    Plaintiff repeats and realleges Paragraphs 1-47, as if fully set forth herein.

      65.    Plaintiff brings this Count individually and on behalf of the other members

of the Nationwide Class (the “Class,” for purposes of this Count).




                                            15
    CASE 0:20-cv-00805-DWF-ECW Document 1 Filed 03/26/20 Page 16 of 23



       66.      The Minnesota Uniform Deceptive Trade Practices Act, Chapter 325D of the

Minnesota Statutes, prohibits the use of deceptive trade practices in the course of business.

       67.      In the course of its business, by its above-described conduct, Northstar

engaged in one or more acts characterized as “deceptive trade practices” pursuant to Minn.

Stat. § 325D.43-.48, as set forth herein, including:

             a. Minn. Stat. § 325D.44(5): “represents that goods or services have

                sponsorship, approval, characteristics, ingredients, uses, benefits, or

                quantities that they do not have, or that a person has a sponsorship, approval,

                status, affiliation, or connection that the person does not have;”

             b. Minn. Stat. § 325D.44(7): “represents that goods or services are of a

                particular standard, quality, or grade, or that goods are of a particular style or

                model, if they are of another;” and

             c. Minn. Stat. § 325D.44(13): “engages in any other conduct which similarly

                creates a likelihood of confusion or of misunderstanding.”

       68.      By representing that the interest rates on the student loans of Plaintiff and

each of the other Class members would be reduced by the T.H.E. Repayment Bonus, and

then unilaterally revoking its T.H.E. Repayment Bonus program, Northstar violated the

Minnesota Uniform Deceptive Trade Practices Act.

                                    COUNT 4
                          VIOLATION OF MINNESOTA
                     PREVENTION OF CONSUMER FRAUD ACT
                             Minn. Stat. § 325F.68-.70

       69.      Plaintiff repeats and realleges Paragraphs 1-47, as if fully set forth herein.



                                                16
     CASE 0:20-cv-00805-DWF-ECW Document 1 Filed 03/26/20 Page 17 of 23



       70.    Plaintiff brings this Count individually and on behalf of the other members

of the Nationwide Class (the “Class,” for purposes of this Count).

       71.    The Minnesota Prevention of Consumer Fraud Act prohibits “[t]he act, use,

or employment by any person of any fraud, false pretense, false promise,

misrepresentation, misleading statement or deceptive practice, with the intent that others

rely thereon in connection with the sale of any merchandise….” Minn. Stat.§ 325F.69.

       72.    By representing that the interest rates on the student loans of Plaintiff and the

other Class members would be reduced by the T.H.E. Repayment Bonus, and then

unilaterally revoking the T.H.E. Repayment Bonus, NorthStar violated the Prevention of

Consumer Fraud Act.

B.     Claims Brought on Behalf of the California Class

                              COUNT 5
  VIOLATION OF THE CALIFORNIA CONSUMER LEGAL REMEDIES ACT
                    Cal. Civ. Code. §§ 1750, et seq.

       73.    Plaintiff repeats and realleges Paragraphs 1-47, as if fully set forth herein.

       74.    Plaintiff brings this Count individually and on behalf of the other members

of the California Class (the “Class,” for purposes of this Count).

       75.    The CLRA “shall be liberally construed and applied to promote its

underlying purposes, which are to protect consumers against unfair and deceptive business

practices and to provide efficient and economical procedures to secure such protection.”

Cal. Civil Code § 1760.




                                              17
    CASE 0:20-cv-00805-DWF-ECW Document 1 Filed 03/26/20 Page 18 of 23



       76.    Northstar is a “person” as defined by California Civil Code section 1761(c)

(“‘Person’ means an individual, partnership, corporation, limited liability company,

association, or other group, however organized.”).

       77.    Plaintiff and the members of the California Class are “consumers” within the

meaning of California Civil Code section 1761(d) (“‘Consumer’ means an individual who

seeks or acquires, by purchase or lease, any goods or services for personal, family, or

household purposes.”).

       78.    Northstar provided Plaintiff and the Class “services” within the definition of

California Civil Code section 1761(b) (“‘Services’ means work, labor, and services for

other than a commercial or business use….”). Specifically, in addition to the credit itself,

the loan packages at issue and sold to Plaintiff and the Class included the following

services: management of the T.H.E. Program, application of the bonuses earned under the

program, customer service and counseling regarding the terms of the T.H.E. Program and

loan servicing.

       79.    Plaintiff and the other Class members’ purchases of the loans are

“transaction[s]” as defined by California Civil Code section 1761(e) (“‘Transaction’ means

an agreement between a consumer and any other person, whether or not the agreement is a

contract enforceable by action, and includes the making of, and the performance pursuant

to, that agreement.”).

       80.    Venue is proper pursuant to California Civil Code section 1780(d) because

Northstar has its principal place of business and is doing business in Dakota County, which




                                            18
    CASE 0:20-cv-00805-DWF-ECW Document 1 Filed 03/26/20 Page 19 of 23



is in the District of Minnesota. A declaration establishing this Court as a proper venue for

this action is attached hereto as Exhibit D.

       81.    By misrepresenting the benefits and terms of the loans and application of the

T.H.E. Repayment Bonus Program, failing to apply the bonuses as promised, and/or by

failing to disclose that Northstar may unilaterally discontinue applying bonuses, Northstar

violated, inter alia, California Civil Code sections 1770(a)(2), (5), (7), (9), (13), (14), (16)

and (19).

       82.    At all relevant times, Northstar misrepresented that Plaintiff and Class

Members would be entitled to the promised bonus as long as they made their payments

ontime and in full. At all times relevant, Northstar failed to disclose and entered into the

loan agreements knowing that it intended to reserve its ability to unilaterally breach the

terms of the bonus program. At all times relevant, Northstar actively concealed the true

nature of its bonus program.

       83.    The omissions and misrepresentations set forth herein are material facts that

any reasonable person would have considered important in deciding whether or not to

select Northstar for his or her student loan financing. Indeed, Plaintiff and the other Class

members justifiably acted or relied upon these misrepresentations and omissions when

deciding to purchase the loans and bonus programs.

       84.    Had Northstar disclosed the true quality, nature and drawbacks of its

services, Plaintiff and the other Class members would not have purchased (or would have

negotiated better rates or terms for) the loans.




                                               19
    CASE 0:20-cv-00805-DWF-ECW Document 1 Filed 03/26/20 Page 20 of 23



       85.    Northstar engaged in the deceptive practices alleged herein, in violation of

the CLRA, to induce Plaintiff and the other Class members to select their loans over

competitors’ loan products and services.

       86.    Plaintiff, on behalf of himself and all others similarly situated, demands

judgment against Defendant under the CLRA for injunctive relief as may be appropriate

and an award of attorneys’ fees and costs.

       87.    Pursuant to California Civil Code section 1782(a), Plaintiff served Northstar

with notice of the alleged violations of the CLRA on behalf of himself and all other Class

members by certified mail, return receipt requested, on March 26, 2020. A copy of this

notice is attached hereto as Exhibit E. If after 30 days Northstar fails to adequately address

and correct the violations alleged herein for Plaintiff and the Class, Plaintiff will amend

this Complaint to seek actual and punitive damages as permitted under the statute on behalf

of himself and the Class.

                               COUNT 6
       VIOLATIONS OF CALIFORNIA’S UNFAIR COMPETITION LAW
                 Cal. Bus. & Prof. Code. §§ 17200, et seq.

       88.    Plaintiff repeats and realleges paragraphs 1-47, as if fully set forth herein.

       89.    Plaintiff brings this Count individually and on behalf of the other members

of the California Class (the “Class,” for purposes of this Count).

       90.    Northstar committed acts of unfair, unlawful, and fraudulent competition by

marketing and selling student loan products to Plaintiff and the other Class members that

did not have the promised benefits and savings. Specifically, Northstar’s acts were




                                             20
    CASE 0:20-cv-00805-DWF-ECW Document 1 Filed 03/26/20 Page 21 of 23



fraudulent and unfair because they failed to disclose that the promised T.H.E. Repayment

Bonus could be revoked or modified at any time with the intention to induce Plaintiff and

the other Class members to rely on such benefits, and because Northstar willfully breached

the earlier Settlement Agreement.

       91.    Such acts are inherently unfair because they breach public policy governing

student loans and basic terms of decency. Northstar’s acts are also unlawful because they

violate, among other things, California Civil Code sections 1668, 1709, 1750, et seq. and

the common law.

       92.    Plaintiff would not have entered into the loan agreement but for the T.H.E.

Repayment Bonus promise or would have demanded better terms. As a result, Plaintiff

lost money and suffered an injury in fact because of Northstar’s violations.

       93.    Plaintiff, therefore, seeks an injunction against Northstar preliminarily, and

permanently enjoining it: (a) from continuing to engage in unlawful and unfair conduct

and ordering it to reinstate the promised T.H.E. Repayment Bonus benefits secured under

the terms of the loan and the Settlement Agreement; (b) reimbursing all unlawful retained

profits and unlawfully collected fees retained as a result of these practices; and (c) ordering

that the T.H.E. Repayment Bonus be reinstated consistent with both the student loan

agreement and Settlement Agreement.

                                REQUEST FOR RELIEF

       WHEREFORE, Plaintiff, individually and on behalf of the other members of the

Nationwide and California Classes, respectfully requests that the Court enter judgment in

their favor and against Defendant, Northstar Education Finance, Inc., as follows:


                                              21
    CASE 0:20-cv-00805-DWF-ECW Document 1 Filed 03/26/20 Page 22 of 23



      a.     Declaring that this action is a proper class action, certifying the Nationwide

and California Classes as requested herein, designating Plaintiff as Nationwide and

California Class Representative, and appointing Adam J. Levitt, Jennie Lee Anderson, and

Robert K. Shelquist as Class Counsel;

      b.     Enjoining Northstar from continuing the unfair business practices alleged in

this Complaint;

      c.     Ordering Northstar to pay actual and statutory damages and restitution to

Plaintiff and the other Nationwide and California Class members, as allowable by law;

      d.     Ordering Northstar to pay both pre- and post-judgment interest on any

amounts awarded;

      e.     Ordering Northstar to pay attorneys’ fees and costs of suit; and

      f.     Ordering such other and further relief as may be just and proper.

                                    JURY DEMAND

      Plaintiff hereby demands a trial by jury on all issues so triable.

 Dated: March 26, 2020                    LOCKRIDGE GRINDAL NAUEN P.L.L.P.


                                          By: s/ Robert K. Shelquist
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                                             22
CASE 0:20-cv-00805-DWF-ECW Document 1 Filed 03/26/20 Page 23 of 23



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                             Classes




                                23
